                    IN THE UNITED STATES DISTRICT COURT FOR THE
                            WESTERN DISTRICT OF MISSOURI
                                 WESTERN DIVISION

UNITED STATES OF AMERICA,                         )
                                                  )
               Plaintiff,                         )
                                                  )
               v.                                 )           No. 15-00083-06-CR-W-DGK
                                                  )
CORRIE E. DUDLEY,                                 )
                                                  )
               Defendant.                         )

                            ACCEPTANCE OF GUILTY PLEA AND
                                ADJUDICATION OF GUILT

       Pursuant to the Report and Recommendation of United States Magistrate Judge John T.

Maughmer (Doc. 117), to which there has been no objection, the Defendant’s plea of guilty to Count

Forty-Four of the Superseding Indictment filed on March 30, 2016, is now accepted and the

Defendant is adjudged guilty of such offense. The Court notes that its acceptance of Defendant’s

guilty plea is conditional; the Court may reject the plea agreement at sentencing after reviewing the

Presentence Investigation Report. Sentencing will be set by subsequent order of the Court.


                                                       /s/ Greg Kays
                                                      GREG KAYS, CHIEF JUDGE
                                                      UNITED STATES DISTRICT COURT

Dated: May 20, 2016




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